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                          In the United States District Court
                               for the District of Kansas



United States of America
           Plaintiff,
           v.                                                Case No. 19-40091-01-DDC

Jarrett William Smith,
            Defendant.



                  ORDER FOR DEFENDANT’S CUSTODIAL ACCESS
                      TO ELECTRONICALLY STORED DATA


        Mr. Smith asks this court to order his custodians, the United States Marshals

Service, to arrange for him to have access to a secured laptop computer at CoreCivic,

where he is currently housed, in order to allow the confidential review of discovery.1

This matter is set for a status conference on November 4, 2019. In order to

adequately review material, independent and secure access to electronically stored

material is necessary. The court notes that similar arrangements have been in place

in other federal holding facilities within the district.

        This secured laptop has been provided by his attorney from the Federal Public

Defender’s office and inspected and approved by the U.S. Attorney’s office. The FPD

is responsible for maintenance and neither the U.S. Marshal nor CoreCivic is

responsible for the content or condition of the equipment.

        The laptop would meet certain prerequisites agreed upon by the parties: The

defense has provided a laptop with only certain programs installed that allow


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review of material but no alteration or additions. A separate note-taking function

will allow the defendant to take and store notes to share with counsel, but none of

the other data can be altered. The Wi-Fi card is physically removed from the

computer. Network and Bluetooth communications will be disabled. Once a review

session is completed, the computer automatically refreshes to its previous state,

removing any modifications to settings or files.

      Certain data, including protected discovery from the United States Attorney’s

Office, will be loaded onto the laptop hard drive. The computer note-taking file will

be accessible only to Mr. Smith and his attorney. The intent of this program is to

reduce the possibility that written information will be unsecured within the facility.

      The United States Marshal is hereby ordered to make arrangements for

Leavenworth CoreCivic to take possession of the laptop and charging cord, with

operating instructions from the FPD. It is further ordered that Mr. Smith shall be

allowed at least six hours per week to review electronically-stored data in a secure

and confidential manner. This review will occur in a room that is occupied solely by

the defendant. The United States Marshal and CoreCivic will coordinate with the

Federal Public Defender regarding to the transfer of equipment and material.

      IT IS SO ORDERED.

      Dated this 9th day of October, 2019.

                                       s/ Daniel D. Crabtree
                                       Daniel D. Crabtree
                                       United States District Judge




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